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                                                     FILED: February 22, 2023


                  UNITED STATES COURT OF APPEALS
                      FOR THE FOURTH CIRCUIT


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                                No. 23-1078 (L)
                                (2:21-cv-00316)
                             ___________________

B.P.J., by her next friend and mother; HEATHER JACKSON

            Plaintiffs - Appellants

v.

WEST VIRGINIA STATE BOARD OF EDUCATION; HARRISON COUNTY
BOARD OF EDUCATION; WEST VIRGINIA SECONDARY SCHOOL
ACTIVITIES COMMISSION; W. CLAYTON BURCH, in his official capacity as
State Superintendent; DORA STUTLER, in her official capacity as Harrison
County Superintendent

            Defendants - Appellees

and

THE STATE OF WEST VIRGINIA; LAINEY ARMISTEAD

            Intervenors - Appellees

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                                  ORDER
                             ___________________

      Upon consideration of submissions relative to Appellants’ motion for stay
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pending appeal relief requested by February 26, 2023, which the court construes as

a motion for an injunction pending appeal, the court grants the motion and stays the

district court’s January 5, 2023, order dissolving its preliminary injunction.

      Entered at the direction of the panel: Judge Harris and Judge Heytens. Judge

Agee dissents from the court’s order.

                                        For the Court

                                        /s/ Patricia S. Connor, Clerk
